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AFFIDAVIT

I, Bennie Bryant Jr., the undersigned complainant being duly sworn state the

following is true and correct to the best of my knowledge and belief:

On February 23, 2024, in the Middle District of Georgia, the defendant, Diego
IBARRA, an alien, did knowingly possess a fraudulent United States Permanent
Resident card after having been processed as an expedited removal with credible fear
into the United States on April 30, 2023. Defendant knew the permanent resident
card was fraudulent because he had not lawfully received a permanent resident card

from United States Citizenship and Immigration Services.

lam an investigator and law enforcement officer of the United States within the meaning
of Title 18, United States Code, Section 2510(7), and am empowered to conduct
investigations of, and make arrests for, offenses enumerated in Title 18, United States
Code, Title 26, United States Code, and other violations of federal law. the Department of
Homeland Security (“DHS”), Immigration and Customs Enforcement (“ICE”), Homeland

Security Investigations (“HSI”), and have been since May 2019.

1, As an HSI SA, my duties and responsibilities include the investigation of civil,
immigration and criminal violations of the United States Code, to include
investigating criminal organizations that operate to obtain, import, and transport
fraudulent identification.

2. From September 2008 to September 2014, I was a Border Patrol Agent with the
United States Border Patrol, In that capacity, I conducted multiple criminal .

investigations for violations of federal and state laws including, but not limited to,
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alien smuggling, human trafficking, drug smuggling, child pornography, benefit
fraud, and organized criminal activity.

3, From September 2014 to May 2016, I was an Intelligence Analyst for the National
Targeting Center, National Security and Threat Analysis Division, where I
provided intelligence support to field agents regarding counterterrorism,
transnational gang identification, and immigration benefit fraud.

4, From May 2016 to August 2017, I was an Intelligence Analyst for HSI where I
provided intelligence support to field agents regarding drug trafficking, money
laundering, and confidential informant files, .

5, From August 2017 to May 2019, I was a Postal Inspector with the United States
Postal Inspection Service (““USPIS”), assigned to the prohibited mailings and
narcotics team, where I was responsible for investigating illegal controlled
substances being distributed through the U.S. mail.

6. During my law enforcement career, I have participated in numerous criminal
investigations. I am personally familiar with and have used all routine methods of
investigation, including, but not limited to, visual surveillance, electronic
surveillance, informant and witness interviews, interrogation, and undercover
operations. I have closely participated in multiple fraudulent document
investigations that resulted in several arrests and seizures concerning drug
fraudulent documents used to gain immigration benefits.

7. I make this affidavit in support of an application for the issuance of a criminal

complaint for Diego IBARRA for violations of Title 18 U.S.C. 1546(a).
8. I am currently assigned to the Homeland Security Investigations (HSI) Resident

Agent in Charge (RAC) Gainesville office. I am designated by the Attorney

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General of the United States and the Secretary of Homeland Security to enforce the
Immigration Laws and Regulations of the United States and any other laws or
regulations designated by the Attorney General, Your affiant has reviewed the
immigration records for Diego IBARRA contained in Alien Immigration File # A
240516225. The file contains identifying information for the subject of the file, in
this case Deigo IBARRA, and includes fingerprints of the subject regardless of the
name used by the subject at any given time.
9, That Alien Immigration File # A 240516225 reflects the following:

a. Onor about April 30, 2023, Diego IBARRA was encountered by the United
States Border Patrol, El Paso Texas Sector. On or about April 30, 2023
Diego IBARRA was processed for immediate removal pursuant to the
expedited removal procedures. Diego IBARRA claimed fear of return to
Venezuela. Due to a finding of credible fear, Diego IBARRA was released
to New York, New York pending adjudication of his claim for asylum.

b. On or about September 25, 2023, Diego IBARRA was arrested by Athens
Clarke County Police Department for driving under the influence of alcohol
and driving without a license.

¢, On or about October 27, 2023, Diego IBARRA was arrested by Athens
Clarke County Police Department for theft by shoplifting.

d. On or about December 8, 2023, Diego IBARRA was arrested by Athens
Clarke County Police Department for failure to appear for a finger printable

offense,

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e. HSI has confirmed via records checks that Diego BARRA has not applied
for or lawfully obtained a permanent resident card by United States
Citizenship and Immigration Services (USCIS).

10. On February 23, 2024, HSI was made aware of Diego BARRA presence in the
United States because of a detention by the Athens Clarke County Police
Department in Georgia. Officer Tim Johnson encountered Diego IBARRA walking
down the street. Diego [BARRA matched the description of a suspect in a
homicide investigation. Diego IBARRA presented a United States permanent
resident card to Officers as identification, The permanent resident card listed the
name Diego Jose IBARRA with a USCIS #: 099-179-154. Through record checks
with the Law Enforcement Service Center (LESC) the permanent resident card was
determined to be fraudulent. Through records checks and fingerprints, HSI
confirmed that Diego IBARRA (Alien Immigration File # A 240 516 225) is a

citizen of Venezuela and was processed as an expedited removal with credible fear

Porn Doone i. fa (an)
Bennie BryanfJr, 7

Special Agent, ICE/HSI

Sworn to and subscribed befere- by gh

~pae this 23 Liay of February 2024

CU

Charles H. Wei
United States Magistrate Judge
Middle District of Georgia

on April 30, 2024,

